Case 9:20-cv-81205-RAR Document 1426 Entered on FLSD Docket 10/07/2022 Page 1 of 22
              USCA11 Case: 21-10195 Date Filed: 10/07/2022 Page: 1 of 1


                             UNITED STATES COURT OF APPEALS
                                FOR THE ELEVENTH CIRCUIT
                                ELBERT PARR TUTTLE COURT OF APPEALS BUILDING
                                              56 Forsyth Street, N.W.
                                              Atlanta, Georgia 30303

   David J. Smith                                                                      For rules and forms visit
   Clerk of Court                                                                      www.ca11.uscourts.gov


                                            October 07, 2022
                                                                                               JE
    Clerk - Southern District of Florida
    U.S. District Court                                                           Oct 7, 2022
    400 N MIAMI AVE
    MIAMI, FL 33128-1810
                                                                                                   MIAMI
    Appeal Number: 21-10195-GG
    Case Style: Securities and Exchange Comm. v. Complete Business Solutions, et al
    District Court Docket No: 9:20-cv-81205-RAR

    A copy of this letter, and the judgment form if noted above, but not a copy of the court's
    decision, is also being forwarded to counsel and pro se parties. A copy of the court's decision
    was previously forwarded to counsel and pro se parties on the date it was issued.

    The enclosed copy of the judgment is hereby issued as mandate of the court. The court's opinion
    was previously provided on the date of issuance.

    Sincerely,

    DAVID J. SMITH, Clerk of Court

    Reply to: Lois Tunstall
    Phone #: (404) 335-6191

    Enclosure(s)
                                                                        MDT-1 Letter Issuing Mandate
Case 9:20-cv-81205-RAR Document 1426 Entered on FLSD Docket 10/07/2022 Page 2 of 22
              USCA11 Case: 21-10195 Date Filed: 10/07/2022 Page: 1 of 3




                                            In the
                        United States Court of Appeals
                                   For the Eleventh Circuit
                                    ____________________

                                         No. 21-10195
                                    ____________________

              SECURITIES & EXCHANGE COMMISSION,
                                                              Plaintiff-Appellee,
              JOSEPH CAPUTO,
                                                           Intervenor-Plaintiff,
              versus
              COMPLETE BUSINESS SOLUTIONS GROUP, INC.,
              d.b.a. Par Funding. et al.,


                                                                    Defendants,


              L.M.E. 2017 FAMILY TRUST,
              JOSEPH W. LAFORTE,
              a.k.a. Joe Mack,
              a.k.a. Joe Macki,




   ISSUED AS MANDATE: 10/07/2022
Case 9:20-cv-81205-RAR Document 1426 Entered on FLSD Docket 10/07/2022 Page 3 of 22
              USCA11 Case: 21-10195 Date Filed: 10/07/2022 Page: 2 of 3




              2                                                           21-10195

              a.k.a. Joe McElhone,
              LISA MCELHONE,


                                                          Defendants-Appellants,


              THE LME 2017 FAMILY TRUST,


                                                             Defendant-Appellee,


              LEAD FUNDING, II, LLC,


                                                                      Intervenor,


              RYAN K. STUMPHAUZER,
              as Receiver for Complete Business Solutions Group, Inc.
              d.b.a Par Funding and the Other Receivership Entities,


                                                     Interested Parties-Appellees.


                                    ____________________

                           Appeal from the United States District Court
                               for the Southern District of Florida
                              D.C. Docket No. 9:20-cv-81205-RAR
                                    ____________________




   ISSUED AS MANDATE: 10/07/2022
Case 9:20-cv-81205-RAR Document 1426 Entered on FLSD Docket 10/07/2022 Page 4 of 22
              USCA11 Case: 21-10195 Date Filed: 10/07/2022 Page: 3 of 3




              21-10195                 Opinion of the Court                    3


                                           JUDGMENT
              It is hereby ordered, adjudged, and decreed that the opinion is-
              sued on this date in this appeal is entered as the judgment of this
              Court.
                                     Entered: August 15, 2022
                           For the Court: DAVID J. SMITH, Clerk of Court




   ISSUED AS MANDATE: 10/07/2022
Case 9:20-cv-81205-RAR Document 1426 Entered on FLSD Docket 10/07/2022 Page 5 of 22
             USCA11 Case: 21-10195 Date Filed: 08/15/2022 Page: 1 of 13




                                                              [PUBLISH]
                                      In the
                     United States Court of Appeals
                            For the Eleventh Circuit

                              ____________________

                                   No. 21-10195
                              ____________________

            SECURITIES & EXCHANGE COMMISSION,
                                                       Plaintiff-Appellee,
            JOSEPH CAPUTO,
                                                     Intervenor-Plaintiff,
            versus
            COMPLETE BUSINESS SOLUTIONS GROUP, INC.,
            d.b.a. Par Funding et al.,


                                                             Defendants,


            L.M.E. 2017 FAMILY TRUST,
            JOSEPH W. LAFORTE,
            a.k.a. Joe Mack,
Case 9:20-cv-81205-RAR Document 1426 Entered on FLSD Docket 10/07/2022 Page 6 of 22
             USCA11 Case: 21-10195 Date Filed: 08/15/2022 Page: 2 of 13




            2                      Opinion of the Court               21-10195

            a.k.a. Joe Macki,
            a.k.a. Joe McElhone,
            LISA MCELHONE,


                                                      Defendants-Appellants,


            THE LME 2017 FAMILY TRUST,


                                                          Defendant-Appellee,


            LEAD FUNDING II, LLC,


                                                                  Intervenor,


            RYAN K. STUMPHAUZER,
            as Receiver for Complete Business Solutions Group, Inc.
            d.b.a. Par Funding and the Other Receivership Entities,


                                                 Interested Parties-Appellees.
                               ____________________

                      Appeal from the United States District Court
                          for the Southern District of Florida
                         D.C. Docket No. 9:20-cv-81205-RAR
                               ____________________
Case 9:20-cv-81205-RAR Document 1426 Entered on FLSD Docket 10/07/2022 Page 7 of 22
             USCA11 Case: 21-10195 Date Filed: 08/15/2022 Page: 3 of 13




            21-10195                Opinion of the Court                           3


            Before NEWSOM, MARCUS, Circuit Judges, and COVINGTON,*
            DISTRICT JUDGE.
            NEWSOM, Circuit Judge:
                   In this interlocutory appeal, we must decide whether we
            have jurisdiction to review a district court order expanding the
            scope of a previously created receivership estate. Because the re-
            ceivership-expansion order is neither an order “appointing [a] re-
            ceiver[]” within the meaning of 28 U.S.C. § 1292(a)(2) nor an order
            “granting, continuing, modifying, refusing or dissolving [an] in-
            junction[]” within the meaning of 28 U.S.C. § 1292(a)(1), we hold
            that we lack jurisdiction to review it and dismiss the appeal.
                                                I
                   In July 2020, the Securities and Exchange Commission initi-
            ated an enforcement action against several entities and individuals,
            including Complete Business Solutions Group, Inc. d/b/a Par
            Funding, its controllers Lisa McElhone and Joseph LaForte, and its
            owner L.M.E. 2017 Family Trust. It alleged that McElhone and
            LaForte used Par Funding to raise money through unregistered se-
            curities offerings and to make opportunistic loans to small busi-
            nesses across America. Simultaneously, the SEC moved for the ap-
            pointment of a receiver over Par Funding and other defendant


            * Honorable Virginia M. Hernandez Covington, United States District Judge
            for the Middle District of Florida, sitting by designation.
Case 9:20-cv-81205-RAR Document 1426 Entered on FLSD Docket 10/07/2022 Page 8 of 22
             USCA11 Case: 21-10195 Date Filed: 08/15/2022 Page: 4 of 13




            4                      Opinion of the Court                 21-10195

            entities to protect investor funds that were commingled with or
            transferred to those companies. The district court granted the un-
            opposed motion and appointed Ryan Stumphauzer as receiver, au-
            thorizing him to “take custody, control, and possession of all Re-
            ceivership Entity records, documents, and materials” and to “take
            any other action as necessary and appropriate for the preservation
            of the Receivership Entities’ property interests.” The defendants
            didn’t appeal the order appointing Stumphauzer as receiver.
                   The following month, the SEC moved to amend the receiv-
            ership order to include several other entities in the receivership and
            to clarify the receiver’s powers and duties. The district court
            granted the motion and issued an amended order that gave
            Stumphauzer “all powers, authorities, rights and privileges hereto-
            fore possessed by the officers, directors, managers and general and
            limited partners of the Receivership Entities” and suspended the
            powers of the persons in those positions. The defendants didn’t
            appeal that order either.
                   In October 2020, Stumphauzer moved to expand the receiv-
            ership estate once again to include entities and properties that had
            been found to have received proceeds of the fraud scheme. In par-
            ticular, the receiver sought to include the L.M.E. 2017 Family
            Trust, which had received commingled investor funds, and
            McElhone’s personal real estate, which had been purchased with
            commingled proceeds. The district court granted the motion. It
            found “a clear necessity for expansion given that tainted funds . . .
            may be found in the entities and properties identified.”
Case 9:20-cv-81205-RAR Document 1426 Entered on FLSD Docket 10/07/2022 Page 9 of 22
             USCA11 Case: 21-10195 Date Filed: 08/15/2022 Page: 5 of 13




            21-10195                  Opinion of the Court                               5

                   The defendants appealed, contending that they weren’t af-
            forded an adequate opportunity to be heard before the receivership
            estate’s expansion. Stumphauzer has moved to dismiss the defend-
            ants’ appeal for lack of jurisdiction.1 Because this appeal stems
            from an interlocutory order—i.e., a nonfinal decision in an ongoing
            case—we must first determine our jurisdiction to review it. 2
                                                  II
                   Appellate jurisdiction is generally limited to “final decisions
            of the district courts.” 28 U.S.C. § 1291. Congress, however, has
            granted appellate jurisdiction over certain categories of district
            court orders that don’t fall within § 1291’s final-judgment rule. As
            relevant here, 28 U.S.C. § 1292(a) authorizes appellate review of:
                   (1) Interlocutory orders of the district courts of the
                   United States . . . granting, continuing, modifying, re-
                   fusing or dissolving injunctions, or refusing to dis-
                   solve or modify injunctions, except where a direct re-
                   view may be had in the Supreme Court; [and]



            1 Stumphauzer also challenges the standing of one of the defendants—the
            L.M.E. 2017 Family Trust—to challenge the district court’s order. Because we
            conclude that we lack jurisdiction to entertain this appeal, we needn’t address
            the Trust’s standing. See Nationwide Mut. Ins. Co. v. Barrow, 29 F.4th 1299,
            1301 (11th Cir. 2022) (“If we lack jurisdiction, our only remaining function is
            to announce that we lack jurisdiction and dismiss the cause.”).
            2 “We review de novo questions of our jurisdiction.” United States v. Amo-
            deo, 916 F.3d 967, 970 (11th Cir. 2019).
Case 9:20-cv-81205-RAR Document 1426 Entered on FLSD Docket 10/07/2022 Page 10 of 22
              USCA11 Case: 21-10195 Date Filed: 08/15/2022 Page: 6 of 13




             6                          Opinion of the Court                        21-10195

                     (2) Interlocutory orders appointing receivers, or re-
                     fusing orders to wind up receiverships or to take steps
                     to accomplish the purposes thereof, such as directing
                     sales or other disposals of property.

                    It is undisputed that § 1291 doesn’t provide jurisdiction here
             because the order expanding the receivership estate was just an in-
             terim order entered in the course of an ongoing enforcement ac-
             tion. Stumphauzer contends, most prominently, that § 1292(a)(2)
             doesn’t provide jurisdiction either because the expansion order was
             not an “order[] appointing [a] receiver[].” Because he was ap-
             pointed by the July 2020 order, not the October 2020 order that
             underlies this appeal, he says that the expansion order falls outside
             § 1292(a)(2)’s ambit. For their part, the defendants contend that the
             expansion order falls within § 1292(a)(2) because it “appoint[ed]”
             Stumphauzer as the receiver over assets not previously subject to
             his control. Separately, they assert that the expansion order can be
             characterized as an order “granting” (or “modifying”) an injunction
             and is thus appealable under § 1292(a)(1). 3
                                                     A
                    Because it addresses receiverships specifically, we begin with
             § 1292(a)(2). Again, that section provides for the immediate appeal
             of interlocutory orders doing any of three things: (1) “appointing
             receivers”; (2) “refusing . . . to wind up receiverships”; and

             3 Section 1292(b) isn’t implicated here because the district court never certified
             the expansion order for immediate appeal.
Case 9:20-cv-81205-RAR Document 1426 Entered on FLSD Docket 10/07/2022 Page 11 of 22
              USCA11 Case: 21-10195 Date Filed: 08/15/2022 Page: 7 of 13




             21-10195               Opinion of the Court                         7

             (3) refusing “to take steps to accomplish the purposes” of winding
             up receiverships, “such as directing sales or other disposals of prop-
             erty.” 28 U.S.C. § 1292(a)(2); see also Netsphere, Inc. v. Baron, 799
             F.3d 327, 331–32 (5th Cir. 2015) (explaining that every circuit to ad-
             dress the issue has held that § 1292(a)(2)’s “refusing orders” clause
             modifies the phrase “to take steps to accomplish the purposes
             thereof”). Section 1292(a)(2)’s text clearly shows that Congress au-
             thorized appellate jurisdiction over what we’ll call “front-end” and
             “back-end” receivership-related orders—i.e., initial orders estab-
             lishing receiverships and later orders refusing to wind them up. But
             it remained silent as to interim receivership-related orders. Given
             the general principle that “[s]tatutes authorizing appeals are to be
             strictly construed,” California Coastal Comm’n v. Granite Rock
             Co., 480 U.S. 572, 579 (1987), we take Congress’s silence in that re-
             spect to indicate that mid-stream orders entered in the normal
             course of receivership proceedings are not immediately appealable.
             See, e.g., Netsphere, 799 F.3d at 332–33 (reasoning that orders en-
             tered in the normal course of a receivership are unappealable);
             United States v. Solco I, LLC, 962 F.3d 1244, 1250 (10th Cir. 2020)
             (same); Florida v. United States, 285 F.2d 596, 600 (8th Cir. 1960)
             (construing § 1292(a)(2) strictly and disposing of argument that an
             expansion order was “in practical effect the appointment of a re-
             ceiver”); 16 Charles Alan Wright & Arthur R. Miller, Federal Prac-
             tice and Procedure § 3925 (3d ed. 2015) (“Orders entered in the
             course of a receivership administration generally are not appeala-
             ble as such.”).
Case 9:20-cv-81205-RAR Document 1426 Entered on FLSD Docket 10/07/2022 Page 12 of 22
              USCA11 Case: 21-10195 Date Filed: 08/15/2022 Page: 8 of 13




             8                       Opinion of the Court                 21-10195

                    This plain-text reading of § 1292(a)(2) is bolstered by refer-
             ence to its statutory neighbor, § 1292(a)(1). That provision more
             broadly confers jurisdiction over orders “granting, continuing,
             modifying, refusing or dissolving injunctions, or refusing to dis-
             solve or modify injunctions.” 28 U.S.C. § 1292(a)(1). It thereby ex-
             pressly authorizes immediate appeals not only of front- and back-
             end orders “granting,” “refusing,” or “dissolving” injunctions, but
             also of mid-stream orders “continuing,” “modifying,” or “refusing
             to dissolve or modify” them. The contrast is unmistakable. Had
             Congress wanted to authorize the same robust interlocutory appel-
             late review of interim receivership-related orders, it could have in-
             cluded similar language in § 1292(a)(2). It didn’t, and its decision in
             that respect is “telling.” Meghrig v. KFC W., Inc., 516 U.S. 479,
             484–85 (1996); see also Intel Corp. Inv. Policy Comm. v. Sulyma,
             140 S. Ct. 768, 777 (2020) (explaining the interpretive “pre-
             sum[ption] that Congress acts intentionally and purposely when it
             includes particular language in one section of a statute but omits it
             in another” (quotation omitted)).
                     The defendants seek to shoehorn the district court’s expan-
             sion order into § 1292(a)(2)’s language by asserting that it was, in
             fact, an order “appointing” a receiver because the order said that it
             “appointed” Stumphauzer as receiver of all the entities described
             therein. But colloquial usage, while relevant, doesn’t control a stat-
             ute’s meaning, see Heyman v. Cooper, 31 F.4th 1315, 1320 n.3
             (11th Cir. 2022), and “the label used by the district court is not dis-
             positive in a determination of the appealability of an order under
Case 9:20-cv-81205-RAR Document 1426 Entered on FLSD Docket 10/07/2022 Page 13 of 22
              USCA11 Case: 21-10195 Date Filed: 08/15/2022 Page: 9 of 13




             21-10195               Opinion of the Court                        9

             section 1292(a)(2),” In re Pressman-Gutman Co., 459 F.3d 383, 393
             (3d Cir. 2006) (citing United States v. Sylacauga Props., Inc., 323
             F.2d 487, 490 (5th Cir. 1963)). Moreover, and in any event, the de-
             fendants’ argument fails to account for the balance of the district
             court’s order, which was titled “Order Granting Motion to Expand
             the Receivership Estate,” described the receiver’s motion as seek-
             ing “to modify” the appointment order, and repeatedly said that it
             was “expand[ing]” the receivership estate.
                    Text and structure aside, the defendants’ position suffers
             from an acute line-drawing problem. At oral argument, the de-
             fendants acknowledged—as they must, given existing precedent—
             that an order expanding a receivership to include new assets isn’t a
             new “appoint[ment]” order. See Oral Arg. at 2:00–3:00; see also
             United States v. Beasley, 558 F.2d 1200 (5th Cir. 1977) (per curiam)
             (holding that an order directing a party to turn over a certain
             amount of money to an existing receivership isn’t appealable under
             § 1292(a)(2)); Wark v. Spinuzzi, 376 F.2d 827 (5th Cir. 1967) (per
             curiam) (same for bonds); cf. Belleair Hotel Co. v. Mabry, 109 F.2d
             390 (5th Cir. 1940) (holding that an order authorizing the receiver
             to execute a lease for a property in his control isn’t immediately
             appealable). But, they insisted, an order expanding an existing re-
             ceiver’s authority to encompass additional entities is different. The
             asset-entity distinction that the defendants seek to draw is found
             nowhere in § 1292(a)(2)’s text and makes little practical sense. We
             can discern no reason why Congress would have wanted to pre-
             clude immediate appellate review of an order expanding a
Case 9:20-cv-81205-RAR Document 1426 Entered on FLSD Docket 10/07/2022 Page 14 of 22
             USCA11 Case: 21-10195 Date Filed: 08/15/2022 Page: 10 of 13




             10                     Opinion of the Court                 21-10195

             receiver’s authority to reach a significant new “asset”—say, a $100
             million brokerage account—but to authorize interlocutory review
             of a similar order extending his authority to include a relatively in-
             significant “entity.”
                     Finally, the defendants’ reading of § 1292(a)(2) contravenes
             the general policy against piecemeal appeals. As the Supreme
             Court has said, “[p]ermitting piecemeal, prejudgment appeals . . .
             undermines efficient judicial administration and encroaches upon
             the prerogatives of district court judges, who play a special role in
             managing ongoing litigation.” Mohawk Indus., Inc. v. Carpenter,
             558 U.S. 100, 106 (2009) (quotation omitted); see also Birmingham
             Fire Fighters Ass’n 117 v. Jefferson Cnty., 280 F.3d 1289, 1293 (11th
             Cir. 2002) (“The Supreme Court, this Court, and our sister circuits
             all have warned of the dangers of piecemeal appeals . . . .”). That
             policy is especially salient in the receivership context. A receiver-
             ship is fluid; its scope will often evolve as proceedings unfold. For
             just that reason, district courts have “broad powers and wide dis-
             cretion to determine relief in an equity receivership.” SEC v. El-
             liott, 953 F.2d 1560, 1566 (11th Cir. 1992). Were we to immediately
             review all scope-related orders of the sort that this case entails, we
             would, in effect, become the micromanagers of district courts’ day-
             to-day administration of receiverships. That is the very sort of
             meddling the final-judgment rule was designed to prevent. Cf.
             Solco, 962 F.3d at 1250 (“[Section] 1292(a)(2) creates a narrow ex-
             ception to the long-established policy against piecemeal appeals.”
             (quotation omitted)); Netsphere, 799 F.3d at 332 (“We have also
Case 9:20-cv-81205-RAR Document 1426 Entered on FLSD Docket 10/07/2022 Page 15 of 22
             USCA11 Case: 21-10195 Date Filed: 08/15/2022 Page: 11 of 13




             21-10195                Opinion of the Court                        11

             refused to find jurisdiction over other orders issued in the course
             of a receivership . . . . So have our sister circuits.”).
                   These common-sense considerations confirm what
             § 1292(a)(2)’s text and structure indicate: We lack jurisdiction over
             scope-related orders entered in an ongoing receivership.
                                               B
                      What about § 1292(a)(1)? The defendants separately assert
             that because the October 2020 receivership-expansion order incor-
             porated the district court’s earlier receivership-appointment order
             that possessed injunctive qualities—in that it required them to turn
             over certain entities and properties to the newly appointed re-
             ceiver—it can be appealed as an order “granting . . . an injunction.”
             See Appellants’ Supplemental Br. at 5–7; Oral Arg. at 7:15–7:30.
             That argument fails for two reasons. First, it is foreclosed by Su-
             preme Court precedent, which makes clear that an order appoint-
             ing a receiver can’t be construed as “embrac[ing] within its terms
             an injunction or the necessary equivalent of an injunction.” High-
             land Ave. & B.R. Co. v. Columbian Equip. Co., 168 U.S. 627, 629,
             631–32 (1898). In particular, the Court in Highland said that
             “[o]rders granting injunctions and orders appointing receivers are
             . . . entirely independent” and “it would savor of judicial legislation
             to hold that [an order appointing a receiver is] appealable[] as an
             order granting an injunction.” Id. Second, even if the expansion
             order incorporated injunctive qualities, it was entered in the con-
             text of a receivership. We can’t skip over the more specific
             § 1292(a)(2), which expressly addresses receivership-related orders,
Case 9:20-cv-81205-RAR Document 1426 Entered on FLSD Docket 10/07/2022 Page 16 of 22
             USCA11 Case: 21-10195 Date Filed: 08/15/2022 Page: 12 of 13




             12                     Opinion of the Court                21-10195

             to find jurisdiction under the more general § 1292(a)(1), which in-
             volves injunction-related orders of all stripes. See Morales v. Trans
             World Airlines, Inc., 504 U.S. 374, 384–85 (1992) (“[I]t is a common-
             place of statutory construction that the specific governs the gen-
             eral.”).
                    In an effort to obtain injunction status, the defendants sepa-
             rately assert that the district court’s October 2020 expansion order
             can be understood as an injunction issued under the All Writs Act.
             See Appellants’ Supplemental Br. at 1. That Act provides, in rele-
             vant part, that “courts established by Act of Congress may issue all
             writs necessary or appropriate in aid of their respective jurisdic-
             tions and agreeable to the usages and principles of law.” 28 U.S.C.
             § 1651(a). The All Writs Act, we have said, is best understood as “a
             residual source of authority.” Klay v. United Healthgroup, Inc.,
             376 F.3d 1092, 1100 (11th Cir. 2004) (quotation omitted). It allows
             courts to “protect the jurisdiction they already have, derived from
             some other source,” but it “does not create any substantive federal
             jurisdiction.” Id. at 1099. In other words, if a court has equitable
             or statutory authority to enter an injunction in a cause of action,
             the All Writs Act isn’t implicated. See id. at 1097–99.
                     To the extent that the appointment of the receiver or the
             expansion of his duties could be viewed as an injunction at all, the
             district court possessed freestanding authority to enter it. The Se-
             curities Exchange Act expressly allows courts to grant “any equita-
             ble relief that may be appropriate or necessary” when it appears
             that a person is engaged in acts or practices violative of the
Case 9:20-cv-81205-RAR Document 1426 Entered on FLSD Docket 10/07/2022 Page 17 of 22
             USCA11 Case: 21-10195 Date Filed: 08/15/2022 Page: 13 of 13




             21-10195               Opinion of the Court                        13

             securities laws, 15 U.S.C. § 78u(d)(5), and we have held that the
             “appointment of a receiver is a well-established equitable remedy
             available to the SEC in its civil enforcement proceedings for injunc-
             tive relief,” SEC v. First Fin. Grp. of Tex., 645 F.2d 429, 438 (5th
             Cir. Unit A May 1981). Given that the district court had both stat-
             utory and residual equitable authority to establish and expand the
             receivership, it had no cause to invoke the All Writs Act to aid its
             jurisdiction.
                    For all these reasons, the expansion order can’t be recast as
             an injunction appealable under § 1292(a)(1).
                                              III
                    Neither § 1292(a)(2) nor § 1292(a)(1) grants us jurisdiction to
             consider this appeal because the expansion order was neither an
             order appointing a receiver nor an order granting (or modifying)
             an injunction.
                    APPEAL DISMISSED.
Case 9:20-cv-81205-RAR Document 1426 Entered on FLSD Docket 10/07/2022 Page 18 of 22
              USCA11 Case: 21-10195 Date Filed: 08/15/2022 Page: 1 of 2


                              UNITED STATES COURT OF APPEALS
                                 FOR THE ELEVENTH CIRCUIT
                                 ELBERT PARR TUTTLE COURT OF APPEALS BUILDING
                                               56 Forsyth Street, N.W.
                                               Atlanta, Georgia 30303

    David J. Smith                                                                      For rules and forms visit
    Clerk of Court                                                                      www.ca11.uscourts.gov


                                             August 15, 2022

    MEMORANDUM TO COUNSEL OR PARTIES

    Appeal Number: 21-10195-GG
    Case Style: Securities and Exchange Comm. v. Complete Business Solutions, et al
    District Court Docket No: 9:20-cv-81205-RAR

    Electronic Filing
    All counsel must file documents electronically using the Electronic Case Files ("ECF") system,
    unless exempted for good cause. Although not required, non-incarcerated pro se parties are
    permitted to use the ECF system by registering for an account at www.pacer.gov. Information
    and training materials related to electronic filing are available on the Court's website. Enclosed
    is a copy of the court's decision filed today in this appeal. Judgment has this day been entered
    pursuant to FRAP 36. The court's mandate will issue at a later date in accordance with FRAP
    41(b).

    The time for filing a petition for rehearing is governed by 11th Cir. R. 40-3, and the time for
    filing a petition for rehearing en banc is governed by 11th Cir. R. 35-2. Except as otherwise
    provided by FRAP 25(a) for inmate filings, a petition for rehearing or for rehearing en banc is
    timely only if received in the clerk's office within the time specified in the rules. Costs are
    governed by FRAP 39 and 11th Cir.R. 39-1. The timing, format, and content of a motion for
    attorney's fees and an objection thereto is governed by 11th Cir. R. 39-2 and 39-3.

    Please note that a petition for rehearing en banc must include in the Certificate of Interested
    Persons a complete list of all persons and entities listed on all certificates previously filed by
    any party in the appeal. See 11th Cir. R. 26.1-1. In addition, a copy of the opinion sought to be
    reheard must be included in any petition for rehearing or petition for rehearing en banc. See
    11th Cir. R. 35-5(k) and 40-1 .

    Counsel appointed under the Criminal Justice Act (CJA) must submit a voucher claiming
    compensation for time spent on the appeal no later than 60 days after either issuance of mandate
    or filing with the U.S. Supreme Court of a petition for writ of certiorari (whichever is later) via
    the eVoucher system. Please contact the CJA Team at (404) 335-6167 or
    cja_evoucher@ca11.uscourts.gov for questions regarding CJA vouchers or the eVoucher
    system.
Case 9:20-cv-81205-RAR Document 1426 Entered on FLSD Docket 10/07/2022 Page 19 of 22
              USCA11 Case: 21-10195 Date Filed: 08/15/2022 Page: 2 of 2



    Pursuant to Fed.R.App.P. 39, costs taxed against appellants.

    Please use the most recent version of the Bill of Costs form available on the court's website at
    www.ca11.uscourts.gov.

    For questions concerning the issuance of the decision of this court, please call the number
    referenced in the signature block below. For all other questions, please call Joseph Caruso, GG
    at (404) 335-6177.

    Sincerely,

    DAVID J. SMITH, Clerk of Court

    Reply to: Jeff R. Patch
    Phone #: 404-335-6151

                                                           OPIN-1A Issuance of Opinion With Costs
Case 9:20-cv-81205-RAR Document 1426 Entered on FLSD Docket 10/07/2022 Page 20 of 22
              USCA11 Case: 21-10195 Date Filed: 08/15/2022 Page: 1 of 3




                                      In the
                      United States Court of Appeals
                             For the Eleventh Circuit

                              ____________________

                                    No. 21-10195
                                     ERRATA
                              ____________________

             SECURITIES & EXCHANGE COMMISSION,
                                                        Plaintiff-Appellee,
             JOSEPH CAPUTO,
                                                     Intervenor-Plaintiff,
             versus
             COMPLETE BUSINESS SOLUTIONS GROUP, INC.,
             d.b.a. Par Funding. et al.,


                                                              Defendants,


             L.M.E. 2017 FAMILY TRUST,
             JOSEPH W. LAFORTE,
             a.k.a. Joe Mack,
Case 9:20-cv-81205-RAR Document 1426 Entered on FLSD Docket 10/07/2022 Page 21 of 22
              USCA11 Case: 21-10195 Date Filed: 08/15/2022 Page: 2 of 3




             a.k.a. Joe Macki,
             a.k.a. Joe McElhone,
             LISA MCELHONE,


                                                      Defendants-Appellants,


             THE LME 2017 FAMILY TRUST,


                                                         Defendant-Appellee,


             LEAD FUNDING, II, LLC,


                                                                  Intervenor,


             RYAN K. STUMPHAUZER,
             as Receiver for Complete Business Solutions Group, Inc.
             d.b.a Par Funding and the Other Receivership Entities,


                                                 Interested Parties-Appellees.
                                ____________________

                       Appeal from the United States District Court
                           for the Southern District of Florida
                          D.C. Docket No. 9:20-cv-81205-RAR
                                ____________________
Case 9:20-cv-81205-RAR Document 1426 Entered on FLSD Docket 10/07/2022 Page 22 of 22
              USCA11 Case: 21-10195 Date Filed: 08/15/2022 Page: 3 of 3




             The opinion has been changed as follows:
             On page 1, “d.b.a. Par Funding. et al.” changed to “d.b.a. Par Fund-
             ing et al.”
             On page 2, “Lead Funding, II” change to “Lead Funding II.”
             On page 2, “d.b.a Par Funding” changed to “d.b.a. Par Funding.”
             On page 12, deleted the word “on.”
             On page 12, deleted the word “a.”
             On page 13, “(5th Cir. 1981)” changed to “(5th Cir. Unit A May
             1981).”
